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 1     ROBERT F. KRAMER (Bar No. 181706)
 2     rkramer@feinday.com
       M. ELIZABETH DAY (Bar No. 177125)
 3     eday@feinday.com
 4     DAVID ALBERTI (Bar No. 220625)
       dalberti@feinday.com
 5     RUSSELL S. TONKOVICH (Bar No. 233280)
 6     rtonkovich@feinday.com
       MARC BELLOLI (Bar No. 244290)
 7     mbelloli@feinday.com
 8     NICHOLAS V. MARTINI (Bar No. 237687)
       nmartini@feinday.com
 9     AIDAN M. BREWSTER (Bar No. 319691)
10     abrewster@feinday.com
       FEINBERG DAY KRAMER ALBERTI
11     LIM TONKOVICH & BELLOLI LLP
12     577 Airport Blvd., Suite 250
       Burlingame, CA 94010
13     Telephone: (650) 825-4300
14     Facsimile: (650) 460-8443

15     Attorneys for Plaintiff
       POLARIS POWERLED TECHNOLOGIES, LLC
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17
18                          UNITED STATES DISTRICT COURT
19                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
20
21     POLARIS POWERLED                       Case No. 8:20-cv-00125
       TECHNOLOGIES, LLC,
22
                   Plaintiff,                COMPLAINT FOR PATENT
23                                           INFRINGEMENT
24                 v.
                                             DEMAND FOR JURY TRIAL
25     LG ELECTRONICS, INC. AND LG
       ELECTRONICS U.S.A,, INC.,
26
                   Defendants.
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28
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 1          Plaintiff Polaris PowerLED Technologies, LLC (“Polaris PowerLED”), by
 2    and through its undersigned counsel, files this Complaint for Patent Infringement
 3    relating to several U.S. patents as identified below (collectively, the “Patents-in-
 4    Suit”) and alleges as follows:
 5                                        THE PARTIES
 6          1.     Plaintiff Polaris PowerLED Technologies, LLC (“Polaris PowerLED”
 7    or “Plaintiff”) is a Delaware limited liability company, with its address at 32932
 8    Pacific Coast Highway #14-498, Dana Point, California, 92629.
 9          2.     Defendant LG Electronics, Inc. (“LG Electronics”), is a corporation
10    organized under the laws of the Republic of Korea with its principal place of
11    business at LG Twin Towers, 128, Yeoui-daero, Yeongdeungpo-gu, Seoul,
12    Republic of Korea, 07736.
13          3.     Defendant LG Electronics USA, Inc. (“LG USA”) is a corporation
14    organized under the laws of Delaware with its principal place of business at 1000
15    Sylvan Avenue, Englewood Cliffs, New Jersey 07632 (LG Electronics and LG USA
16    are collectively referred to as “LG” or “Defendants”).
17                               JURISDICTION AND VENUE
18          4.     Polaris PowerLED brings this civil action for patent infringement
19    pursuant to the Patent Laws of the United States, 35 U.S.C. § 1, et seq. This Court
20    has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and
21    1338(a).
22          5.     Upon information and belief, LG transacts and conducts business in
23    this District and the State of California, and is subject to the personal jurisdiction of
24    this Court. Upon information and belief, LG has minimum contacts within the
25    State of California and this District and has purposefully availed itself of the
26    privileges of conducting business in the State of California and in this District.
27    Polaris PowerLED’s causes of action arise directly from LG’s business contacts and
28    other activities in the State of California and in this District.
                                                 -2-
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 1          6.     Upon information and belief, LG has several regular and established
 2    places of business in California.
 3          7.     Upon information and belief, LG has a regular and established place of
 4    business at 9415 Kaiser Way, Fontana, CA, 94335.
 5          8.      Upon information and belief, LG has a regular and established place
 6    of business at 5565 Sierra Ave, Fontana, CA, 92336.
 7          9.      Upon information and belief, LG has a regular and established place
 8    of business at 2021 S. Archibald Ave, Ontario, CA 91761.
 9          10.     Upon information and belief, LG has a regular and established place
10    of business at 9050 Hermosa Ave, Rancho Cucamonga, CA, 91730.
11          11.     Upon information and belief, LG has a regular and established place
12    of business at 11600 Millennium Ct, Rancho Cucamonga, CA, 91730.
13          12.    Personal jurisdiction exists over each of the Defendants because each
14    Defendant has sufficient minimum contacts with this forum as a result of business
15    conducted within this State and this District, including doing business at the above
16    mentioned regular and established places of business.
17          13.    Upon information and belief, LG has committed acts of infringement,
18    both directly and indirectly, within this District and the State of California by, inter
19    alia, using, selling, offering for sale, importing, advertising, and/or promoting
20    products that infringe one or more claims of the Patents-in-Suit.
21          14.    LG, directly and/or through intermediaries, uses, sells, ships,
22    distributes, offers for sale, advertises, and otherwise promotes its products in the
23    United States, the State of California, and this District.
24          15.    In addition, each of the Defendants, directly or through affiliates,
25    subsidiaries, agents, or intermediaries, places infringing televisions and mobile
26    devices into the stream of commerce knowing they will be sold and used in this
27    State, and economically benefits from the retail sale of infringing televisions and
28    mobile devices in this State. For example, Defendants’ products have been sold
                                                -3-
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 1    and are available for sale in this District at Best Buy, Target, Howard’s, and Fry’s
 2    Electronics retail stores, and are also available for sale and offered for sale in this
 3    District through online retailers such as Amazon, Best Buy, and Fry’s Electronics.
 4    Defendants also advertise their infringing products to consumers in this State and
 5    this District through the LG USA website. See, e.g., https://www.lg.com/us/tvs
 6    and https://www.lg.com/us/mobile.
 7           16.    Upon information and belief, LG solicits customers in the State of
 8    California and this District and has customers who are residents of the State of
 9    California and this District and who use LG’s products in the State of California
10    and in this District.
11           17.    In addition, LG Electronics has availed itself of this Court by filing
12    patent litigation suits within this district.
13           18.    LG Electronics has filed suit against a competitor, Hisense, in this
14    district, alleging patent infringement, in a case captioned LG Electronics Inc. v.
15    Hisense Electronics Manufacturing Company of America Corporation; HISENSE
16    USA CORPORATION; HISENSE INTERNATIONAL (HONG KONG) AMERICA
17    INVESTMENT CO., LIMITED (f/k/a HISENSE INTERNATIONAL AMERICA
18    HOLDINGS CO., LIMITED); HISENSE INTERNATIONAL (HK) CO., LIMITED;
19    Hisense International Co. Ltd.; Qingdao Hisense Electronics Co. Ltd. (f/k/a
20    Hisense Electric Co., Ltd.); and Hisense Co., Ltd., Case No. 2:19-cv-9474, in the
21    Central District of California, Western Division.
22           19.    To the extent any foreign Defendant is not subject to jurisdiction in
23    any state’s court of general jurisdiction, exercising jurisdiction over the Defendant
24    in this State and this District would be consistent with due process and this State’s
25    long-arm statute in light of facts alleged in this complaint.
26           20.    Venue is proper in this district under 28 U.S.C. §§ 1391(b), (c) and
27    1400(b), based on LG’s business registration in this State and physical presence and
28    business addresses in this District.
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 1                                 THE PATENTS-IN-SUIT
 2          21.    Polaris PowerLED owns the entire right, title, and interest in U.S.
 3    Patent No. 7,239,087 titled “Method and Apparatus to Drive LED Arrays Using
 4    Time Sharing Technique” (the “’087 Patent”). The ’087 Patent issued on July 3,
 5    2007 to inventor Newton E. Ball from the U.S. Patent Application No. 11/011,752,
 6    filed on Dec. 14, 2004. A true and correct copy of the ’087 Patent is attached as
 7    Exhibit A to this Complaint.
 8          22.    Polaris PowerLED owns by the entire right, title, and interest in U.S.
 9    Patent No. 8,223,117 titled “Method and Apparatus to Control Display Brightness
10    with Ambient Light Correction” (the “’117 Patent”). The ’117 Patent issued on
11    July 17, 2012 to inventor Bruce R. Ferguson from the U.S. Patent Application No.
12    12/336,990, filed on Dec. 17, 2008. A true and correct copy of the ’117 Patent is
13    attached as Exhibit B to this Complaint.
14                                          COUNT I
15                 (INFRINGEMENT OF U.S. PATENT NO. 7,239,087)
16          23.    Polaris PowerLED incorporates by reference paragraphs 1-22 above.
17          24.    Mr. Newton E. Ball invented a novel manner of arranging and
18    controlling light sources that was a significant advance in improving display quality
19    in electronics products such as televisions. Mr. Ball patented these innovations in
20    the ’087 patent.
21          25.    Claim 1 of the ’087 Patent, for example, reads as follows:
22                 1. A multi-load time sharing driver comprising:
23                 a current source configured to provide a regulated current;
24                 a network of semiconductor switches coupled in series; and
25                 a plurality of light sources in a backlight system, each light source
26                 associated with a semiconductor switch, wherein the semiconductor
27                 switch selectively opens to allow the associated light source to conduct
28                 the regulated current.
                                               -5-
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 1          26.    LG has directly and indirectly infringed, and continues to directly and
 2    indirectly infringe one or more claims of the ’087 patent, including at least claim 1
 3    of the ’087 Patent, literally and/or under the doctrine of equivalents, by or through
 4    making, using, offering for sale, selling within the United States, and/or importing
 5    into the United States televisions, including, for example, LG’s 55UJ7700 TVs and
 6    other products that contain local dimming and TruMotion features in violation of 35
 7    U.S.C. § 271(a). The devices listed in this paragraph are collectively referred to in
 8    this Count as the “Accused Products.”
 9          27.    The Accused Products have “a multi-load time sharing driver
10    comprising: a current source configured to provide a regulated current.” The
11    Accused Products include, for example, an LED control board, power supply, and
12    main board which includes components (such as multi-channel LED drivers and
13    transistors) for individually controlling strings of LEDs in the TV backlight.
14          28.    The exemplary LG 55UJ7700 includes an LED control board, power
15    supply, and main board which includes components (such as multi-channel LED
16    drivers and transistors) for individually controlling strings of LEDs in the TV
17    backlight.
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28          [LED Control Board/Power Board and Mainboard for LG 55UJ7700]

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 1          29.   The LED control board is coupled to several sections of LEDs. In the
 2    55UJ7700, for example, there are six (6) different sections, each including twenty
 3    (20) LEDs. These six (6) zones are consistent with LG’s marketing of the product
 4    as featuring “Local Dimming,” as well as the TruMotion feature.
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10    [55UJ7700 specifications at https://www.lg.com/us/tvs/lg-55UJ7700-4k-uhd-tv]
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24    [LG 55UJ7700 manual, https://www.lg.com/us/support/product/lg-55UJ7700.AUS]
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            30.   The Accused Products include a current source configured to provide a
26
      regulated current. The exemplary LG 55UJ7700 TVs include a power supply IC
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      and associated circuitry that provide a resonant switch mode power supply.
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12    [LG 55UJ7700 Power Supply Board]

13          31.   Through the LED power connection port, power is supplied from the
14    power supply board to the LED control board that contains the LED driver,
15    switches, and other circuitry. In addition, the resonant switch mode power supply
16    in conjunction with each LED driver chip and their associated circuitry serve as a
17    current source and provide a regulated current (through each of the respective LED
18    strings). When the device is turned on, the power supply provides a regulated
19    current that flows through each of the respective LED strings. The current through
20    each of the strings can be individually controlled by the LGP06B LED driver chip
21    depending on the needs of the display.
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11
      [LGP06B LED Driver Chip in LG 55UJ7700]
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13          32.   The LED control board in the LG 55UJ7700, for example, includes
14    components which provide a regulated current to the LEDs.
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25
      [4NF20L N-Channel FETs and LGP06B Chip on LG 55UJ7700 LED Control
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      Board]
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 1           33.    LG advertises various features and functionality evidencing that this
 2     claim is present in the Accused Products. For example, LG advertises local
 3     dimming in the LG 55UJ7700.
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       [55UJ7700 specifications at https://www.lg.com/us/tvs/lg-55UJ7700-4k-uhd-tv]
11
             34.    The Accused Products have “a network of semiconductor switches
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       coupled in series.” For instance, the Accused Products include an LED control
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       board with LED drivers coupled to both a switch mode power supply and one or
14
       more semiconductor switches.
15
             35.    The exemplary LG 55UJ7700 TV includes a network of
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       semiconductor switches coupled in series, including as follows: The LED control
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       board includes an LGP06B LED driver chip. The LGP06B LED driver includes a
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       semiconductor switch for each section of LEDs. Each section comprises twenty
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       (20) LEDs.
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       [4NF20L N-Channel FETs and LGP06B Chip on LG 55UJ7700 LED Control
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       Board]
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             36.    The LGP06B LED driver supports six (6) sections of LEDs and is
13
       associated with semiconductor switches for each section, including six (6) 4NF20L
14
       N-Channel FETs. The 4NF20L N-Channel FETs (“N-Channel FETs”) are
15
       semiconductor switches. The LGP06B LED driver receives a regulated current
16
       from the resonant switch mode power supply. The resonant switch mode power
17
       supply comprises a power supply IC and associated circuitry, including a pair of
18
       semiconductor switches coupled in series. The LGP06B LED driver chip in the LG
19
       55UJ7700 is coupled to the resonant switch mode power supply and its associated
20
       circuitry and the N-Channel FETs, such that the two semiconductor switches
21
       associated with the resonant switch mode power supply are coupled in series with
22
       each of the N-Channel FETs (i.e., semiconductor switches).
23
             37.    In addition, the N-Channel FETs are a network of semiconductor
24
       switches coupled in series with the “current source configured to provide a
25
       regulated current” (as identified above) and the plurality of light sources (as
26
       identified below). There is thus a “a network of semiconductor switches coupled in
27
       series.”
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 1           38.    The Accused Products have “a plurality of light sources in a backlight
 2     system, each light source associated with a semiconductor switch, wherein the
 3     semiconductor switch selectively opens to allow the associated light source to
 4     conduct the regulated current.”
 5           39.    The LG Accused Products include a plurality of light sources (LEDs)
 6     in a backlight system, each light source associated with a semiconductor switch,
 7     wherein the semiconductor switch selectively opens to allow the associated light
 8     source to conduct the regulated current. Each of these semiconductor switches is
 9     controlled by an associated LED driver. The control board is coupled to strings of
10     LEDs (e.g., light sources). In the LG 55UJ7700, for example, there are six (6)
11     sections of twenty (20) LEDS, comprising a total of six (6) zones. The
12     semiconductor switch selectively opens to allow the associated light source to
13     conduct the regulated current. Each semiconductor switch is associated with an
14     LED driver in the LG Accused Products. The LED drivers in the LG Accused
15     Products are configured to implement local dimming by selectively controlling
16     these semiconductor switches.
17           40.    LG also has indirectly infringed and continues to indirectly infringe
18     the ’087 patent by inducing and contributing to infringement by customers and third
19     parties of the ’087 patent. LG’s users, customers, agents or other third parties who
20     use those devices in accordance with LG’s instructions infringe at least claim 1 of
21     the ’087 Patent, in violation of 35 U.S.C. § 271(a). Because LG intentionally
22     instructs its customers to infringe through training videos, demonstrations,
23     brochures and user guides, such as those located at: www.lg.com,
24     https://www.lg.com/us/support, https://www.lg.com/us/experience-tvs/local-
25     dimming, https://www.lg.com/us/experience-tvs/full-array-dimming,
26     https://www.lg.com/us/support/video-tutorials/adjusting-picture-settings-webos-20-
27     video-CT10000018-1433250653383, https://www.lg.com/ca_en/support/product-
28     help/CT20098005-20150226846632-poor-picture-quality-or-poor-color, and
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 1     https://www.lg.com/us/support/help-library/tv-video-lag-CT10000020-
 2     20150774974899, LG is liable for infringement of the ’087 Patent under 35 U.S.C.
 3     § 271(b).
 4           41.    LG is on notice of its infringement of the ’087 Patent by no later than
 5     August 29, 2019 by virtue of a letter from counsel for Polaris PowerLED to the
 6     President of LG Electronics, Inc., the Chairmen & CEO of LG Corporation and the
 7     CEO & President of LG Electronics U.S.A., Inc.
 8           42.    By the time of trial, LG will have known and intended (since receiving
 9     such notice) that its continued actions would actively induce the infringement of at
10     least claim 1 of the ’087 Patent.
11           43.    Additionally, LG has been on notice of the ’087 Patent since at least
12     January 17, 2008, when Patent Publication No. WO2008007925A1 to LG Innotek
13     Co., Ltd. was published, which cites the ’087 Patent as prior art.
14           44.    Upon information and belief, Defendants’ past and continuing
15     infringement has been deliberate and willful, and this case is therefore an
16     exceptional case, which warrants an award of treble damages and attorneys’ fees to
17     Plaintiff pursuant to 35 U.S.C. § 285.
18           45.    By at least as early as August 29, 2019, Defendants had actual
19     knowledge or should have known of the ’087 Patent and that their activities were
20     infringing this patent. After receiving actual knowledge of the ’087 Patent,
21     Defendants have continued to make, use, sell, offer for sale, and/or import
22     infringing products into the United States despite knowing that there was a high
23     likelihood of infringement.
24           46.    As a result of LG’s infringement of the ’087 Patent, Polaris PowerLED
25     has suffered monetary damages and is entitled to no less than a reasonable royalty
26     for LG’s use of the claimed inventions of the ’087 Patent, together with interest and
27     costs as determined by the Court. Polaris PowerLED will continue to suffer
28     damages in the future unless LG’s infringing activities are enjoined by this Court.
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 1           47.    Polaris PowerLED will be irreparably harmed unless a permanent
 2     injunction is issued, enjoining LG and their agents, employees, representatives,
 3     affiliates, and others acting in concert with LG from infringing the ’087 Patent.
 4                                          COUNT II
 5                  (INFRINGEMENT OF U.S. PATENT NO. 8,223,117)
 6           48.    Polaris PowerLED incorporates by reference paragraphs 1-47 above.
 7           49.    Mr. Bruce Ferguson invented a novel manner of adjusting the
 8     brightness of a display screen in response to ambient light, conserving power,
 9     reducing eye strain, and significantly improving the experience of the user. His
10     inventions were a significant advance in the field of display technology, power
11     conservation and power control for electronics products, including televisions and
12     other devices. Mr. Ferguson patented these innovations in the ’117 Patent.
13           50.    Claim 1 of the ’117 Patent, for example, reads as follows:
14                  1. A brightness control circuit with selective ambient light correction
15                  comprising:
16                  a first input configured to receive a user signal indicative of a user
                    selectable brightness setting;
17
18                  a light sensor configured to sense ambient light and to output a sensing
                    signal indicative of the ambient light level;
19
                    a multiplier configured to selectively generate a combined signal based
20                  on both the user signal and the sensing signal; and
21
                    a dark level bias configured to adjust the combined signal to generate a
22                  brightness control signal that is used to control a brightness level of a
23                  visible display such that the brightness control signal is maintained
                    above a predetermined level when the ambient light level decreases to
24                  approximately zero.
25
26           51.    LG has directly and indirectly infringed, and continues to directly and

27     indirectly infringe one or more claims of the ’117 patent, including at least claim 1

28     of the ’117 Patent, literally and/or under the doctrine of equivalents, by or through

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 1     making, using, offering for sale, selling within the United States, and/or importing
 2     into the United States televisions, including, for example, LG’s 55UJ7700 TVs (the
 3     “Accused TV Products”) and other consumer electronics display products such as
 4     mobile devices (the “Accused Smartphone Products”) that contain ambient light
 5     sensors and automatic brightness control features in violation of 35 U.S.C. § 271(a).
 6           52.    The Accused TV Products have “a brightness control circuit with
 7     selective ambient light correction comprising: a first input configured to receive a
 8     user signal indicative of a user selectable brightness setting,” including auto
 9     brightness control, backlight and brightness circuitry, and associated user signals.
10     For example, the Accused TV Products direct users to adjust the Backlight level
11     and to enable or disable the “Energy Saving” feature described below via the
12     settings menus in the exemplary LG 55UJ7700 TV user manuals:
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       [LG 55UJ7700 manual, https://www.lg.com/us/support/product/lg-55UJ7700.AUS]
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25         53.      The Accused TV Products have “a light sensor configured to sense
26     ambient light and to output a sensing signal indicative of the ambient light level” as
27     shown below. The front portion of the Accused TV Products include an ambient
28     light sensor that outputs a sensing signal indicative of the ambient light level. For
                                                - 15 -
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 1     example, the exemplary LG 55UJ7700 has a light sensor facing the front of the
 2     television, shown below.
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           54.         The Accused TV Products have “a multiplier configured to selectively
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       generate a combined signal based on both the user signal and the sensing signal.”
14
       The Accused TV Products include a multiplier implemented at least in part in
15
       software to generate a combined signal based on the user signal, which includes the
16
       brightness setting input by a user, and a sensing signal, including signaling from a
17
       light sensor.
18
           55.         After receiving the user signal and the sensing signal, software on the
19
       Accused TV Products processes software variables associated with the user signal
20
       and/or the sensing signal. This processing includes, for example, scaling or
21
       converting the variables. The processing also includes generating a combined
22
       signal. The combined signal is generated based on both the user signal and the
23
       sensing signal. The combined signal may also be generated based on variables that
24
       are derived from the user signal and sensing signal. The process of generating the
25
       combined signal includes multiplication. Software on the Accused TV Products
26
       stores the combined signal in a software variable. The software variable can be, for
27
       example, an integer or float.
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     Case 8:20-cv-00125 Document 1 Filed 01/21/20 Page 17 of 26 Page ID #:17



 1         56.      For example, testing of the exemplary LG 55UJ7700 TV shows a
 2     multiplicative adjustment to the brightness curve based on the user-selectable
 3     Backlight setting when Auto Energy Saving is enabled. The scaling of the
 4     brightness curve shown in the data below plainly indicates the presence of a
 5     multiplier combining the Backlight setting with the ambient light signal in
 6     determining the brightness control signal.
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15         57.      The Accused TV Products have “a dark level bias configured to adjust
16     the combined signal to generate a brightness control signal that is used to control a
17     brightness level of a visible display such that the brightness control signal is
18     maintained above a predetermined level when the ambient light level decreases to
19     approximately zero.” The software and/or hardware included in the Accused TV
20     Products adjusts the combined based on the user and sensing signals to generate a
21     signal that controls the brightness of the Accused TV Products maintaining the
22     brightness level of the display above a predetermined level when the ambient
23     brightness is approximately zero. These hardware components include, for
24     example, a processor and solid-state storage that runs an operating system and/or
25     additional software for adjusting a combined signal to generate a brightness control
26     signal to control the brightness of the television display. The solid-state storage
27     may be implemented in the form of a NAND-based flash drive.
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 1         58.      The dark level bias is a software variable that is used to adjust the
 2     combined signal, which is generated based on the user signal and the sensing
 3     signal. A software function or mathematical equation is used in conjunction with
 4     the dark level bias and the combined signal in order to generate a brightness control
 5     signal. For example, the dark level bias may be a variable or set of variables input
 6     into a function to maintain the brightness control signal above a predetermined
 7     value. The brightness control signal is a software variable or function that is used
 8     to control the brightness of the display in the Accused TV Products.
 9         59.      When the ambient light level decreases to approximately zero, the dark
10     level bias is used to control the brightness control signal such that the brightness
11     control signal is maintained above a predetermined level of brightness. As shown
12     in testing of the exemplary LG 55UJ770 TV’s brightness curve, the dark level bias
13     prevents the brightness control signal from dropping below a predetermined level
14     when the ambient light level decreases to approximately zero.
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23         60.      LG has directly and indirectly infringed, and continues to directly and
24     indirectly infringe one or more claims of the ’117 Patent, including at least claim 1
25     of the ’117 Patent, literally and/or under the doctrine of equivalents, by or through
26     making, using, offering for sale, selling within the United States, and/or importing
27     into the United States the Accused Smartphone Products including, for example,
28     LG’s V Series and G Series smartphones, and other consumer electronics display
                                                - 18 -
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 1     products that contain ambient light sensors and automatic brightness control
 2     features in violation of 35 U.S.C. § 271(a).
 3         61.      The Accused Smartphone Products have “a brightness control circuit
 4     with selective ambient light correction comprising: a first input configured to
 5     receive a user signal indicative of a user selectable brightness setting,” including
 6     auto brightness control, backlight and brightness circuitry, and associated user
 7     signals. For example, the Accused Smartphone Products direct users to adjust the
 8     Backlight level and to enable or disable the “Energy Saving” feature described
 9     below via the settings menus in the exemplary LG V40 ThinQ user manual:
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15     [LG V40 ThinQ manual, https://www.lg.com/us/support/product/lg-
16     LMV405UA3.ASPRBK]
17
18
19     [LG V40 ThinQ manual, https://www.lg.com/us/support/product/lg-
       LMV405UA3.ASPRBK]
20
           62.      This automatic brightness adjustment feature can be adjusted by
21
       moving the brightness slider bar, as shown in the below photo of the brightness
22
       adjustment screen. Additionally, this feature can be turned off. Thus, the Accused
23
       Smartphone Products include a brightness control circuit with selective ambient
24
       light correction.
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 7     [LG V40 ThinQ]
 8         63.      The Accused Smartphone Products have “a light sensor configured to
 9     sense ambient light and to output a sensing signal indicative of the ambient light
10     level” as shown below. The light sensor may be mounted such that it faces the
11     front or the back of the Accused Smartphone Products. The light sensor measures
12     ambient light and outputs a sensing signal indicative of the ambient light. Software
13     running on the Accused Smartphone Products stores the sensing signal. For
14     example, the Accused Smartphone Products’ software may store the sensing signal
15     in a software variable that represents the ambient light level. For example, the
16     exemplary LG V40 ThinQ manual explicitly advertises that the light sensor is used
17     in the “auto-brightness control mode”:
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23
       [LG V40 ThinQ manual, https://www.lg.com/us/support/product/lg-
24
       LMV405UA3.ASPRBK]
25
           64.      The Accused Products have “a multiplier configured to selectively
26
       generate a combined signal based on both the user signal and the sensing signal.”
27
       The user signal is indicative of a user selectable brightness setting. The Accused
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 1     Smartphone Products include, for example, a menu in which a user provides a user
 2     signal indicative of a user selectable brightness setting.
 3         65.      A user navigates to a display menu to provide the user signal by using
 4     the brightness slide bar to adjust the screen brightness.
 5
 6
 7     [LG V40 ThinQ manual, https://www.lg.com/us/support/product/lg-
 8     LMV405UA3.ASPRBK]
           66.      The light sensor may be mounted such that it faces the front or the
 9
       back of the Accused Smartphone Products. The light sensor measures ambient
10
       light and outputs a sensing signal indicative of the ambient light. Software running
11
       on the Accused Smartphone Products stores the sensing signal. For example, the
12
       Accused Smartphone Products’ software may store the sensing signal in a software
13
       variable that represents the ambient light level.
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21     [LG V40 ThinQ manual, https://www.lg.com/us/support/product/lg-
22     LMV405UA3.ASPRBK]
23         67.      The Accused Smartphone Products include hardware components for
24     running software which includes a multiplier configured to selectively generate a
25     combined signal based on both the user signal and the sensing signal. These
26     hardware components include, for example, a processor and solid-state storage that
27     runs an operating system and/or additional software for generating a combined
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                                                - 21 -
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 1     signal. The solid-state storage may be implemented in the form of a NAND-based
 2     flash drive.
 3         68.        After receiving the user signal and the sensing signal, software on the
 4     Accused Smartphone Products processes software variables associated with the user
 5     signal and/or the sensing signal. This processing includes, for example, scaling or
 6     converting the variables. The processing also includes generating a combined
 7     signal. The combined signal is generated based on both the user signal and the
 8     sensing signal. The combined signal may also be generated based on variables that
 9     are derived from the user signal and sensing signal. The process of generating the
10     combined signal includes multiplication. Software on the Accused Smartphone
11     Products stores the combined signal in a software variable. The software variable
12     can be, for example, an integer or float. As shown below, the exemplary LG V40
13     ThinQ combines the light sensor signal and user signal multiplicatively in order to
14     generate the combined signal, to which a dark level bias is applied.
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           69.        The Accused Smartphone Products have “a dark level bias configured
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       to adjust the combined signal to generate a brightness control signal that is used to
25
       control a brightness level of a visible display such that the brightness control signal
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       is maintained above a predetermined level when the ambient light level decreases to
27
       approximately zero.” The Accused Smartphone Products include hardware
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                                                 - 22 -
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 1     components for running software which includes a dark level bias configured to
 2     adjust the combined signal to generate a brightness control signal that is used to
 3     control a brightness level of a visible display such that the brightness control signal
 4     is maintained above a predetermined level when the ambient light level decreases to
 5     approximately zero. These hardware components include, for example, a processor
 6     and solid-state storage that runs an operating system and/or additional software for
 7     generating a combined signal. The solid-state storage may be implemented in the
 8     form of a NAND-based flash drive.
 9         70.      After receiving the user signal and the sensing signal, software on the
10     Accused Smartphone Products processes software variables associated with the user
11     signal and/or the sensing signal. This processing includes, for example, scaling or
12     converting the variables. The processing also includes generating a combined
13     signal. The combined signal is generated based on both the user signal and the
14     sensing signal. The combined signal may also be generated based on variables that
15     are derived from the user signal and sensing signal.
16         71.      The dark level bias is a software variable that is used to adjust the
17     combined signal, which is generated based on the user signal and the sensing
18     signal. A software function or mathematical equation is used in conjunction with
19     the dark level bias and the combined signal in order to generate a brightness control
20     signal. For example, the dark level bias may be a variable or set of variables input
21     into a function to maintain the brightness control signal above a predetermined
22     value. The brightness control signal is a software variable or function that is used
23     to control the brightness of the display in the Accused Smartphone Products.
24         72.      When the ambient light level decreases to approximately zero, the dark
25     level bias is used to control the brightness control signal such that the brightness
26     control signal is maintained above a predetermined level of brightness.
27         73.      LG also has indirectly infringed and continues to indirectly infringe
28     the ’117 Patent by inducing and contributing to infringement by customers and
                                                - 23 -
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 1     third parties of the ’117 Patent. LG’s users, customers, agents or other third parties
 2     who use those devices in accordance with LG’s instructions infringe at least claim 1
 3     of the ’117 Patent, in violation of 35 U.S.C. § 271(a). Because LG intentionally
 4     instructs its customers to infringe through training videos, demonstrations,
 5     brochures and user guides, such as those located at: www.lg.com,
 6     https://www.lg.com/us/support/help-library/lg-tv-picture-menu-settings-
 7     CT10000018-1374855198623, https://www.lg.com/us/support/video-tutorials/lg-tv-
 8     troubleshooting-dark-or-blurry-picture-CT10000020-1441915401150,
 9     https://www.lg.com/us/support/help-library/troubleshooting-dark-or-dim-picture-tv-
10     CT10000018-1432651636835, https://www.lg.com/us/support/help-library/how-
11     can-i-improve-the-battery-life-of-my-android-device-CT10000025-
12     20150357036679, https://www.lg.com/us/support/product/lg-55UJ7700.AUS,
13     https://www.lg.com/us/support/product/lg-LMV405UA3.ASPRBK,
14     https://www.lg.com/uk/support/product-help/CT00008356-20150122818443-
15     others, https://www.lg.com/eastafrica/support/product-help/CT20279022-
16     1440413459879-others, and https://www.lg.com/au/support/product-
17     help/CT32000461-1440406117105-others, LG is liable for infringement of the ’117
18     Patent under 35 U.S.C. § 271(b).
19         74.      LG also received notice of its infringement of the ’117 Patent by no
20     later than August 29, 2019 by virtue of a letter from counsel for Polaris PowerLED
21     to the President of LG Electronics, Inc., the Chairmen & CEO of LG Corporation
22     and the CEO & President of LG Electronics U.S.A., Inc.
23         75.      By the time of trial, LG will have known and intended (since receiving
24     such notice) that its continued actions would actively induce the infringement of at
25     least claim 1 of the ’117 Patent.
26         76.      Additionally, LG has been on notice of the ’117 Patent since at least
27     August 13, 2013, when Patent Publication No. KR101296564B1 to LG Display Co
28     Ltd. was published, which cites the ’117 Patent as prior art. The ’117 Patent was
                                               - 24 -
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 1     cited as prior art in additional LG Patent Publications, such as KR101318081B1 to
 2     LG Display Co Ltd., published on October 14, 2013, KR101631958B1 to LG
 3     Electronics Inc., published on June 20, 2016, and KR20160139677A to LG Display
 4     Co Ltd., published on December 7, 2016.
 5         77.      On information and belief, Defendants’ past and continuing
 6     infringement has been deliberate and willful, and this case is therefore an
 7     exceptional case, which warrants award of treble damages and attorneys’ fees to
 8     Plaintiff pursuant to 35 U.S.C. § 285.
 9         78.      By at least as early as August 29, 2019, LG had actual knowledge or
10     should have known of the ’117 Patent and that its activities were infringing this
11     patent. After receiving actual knowledge of the ’117 Patent, Defendants have
12     continued to make, use, sell, offer for sale, and/or import infringing products into
13     the United States despite knowing that there was a high likelihood of infringement.
14         79.      As a result of LG’s infringement of the ’117 Patent, Polaris PowerLED
15     has suffered monetary damages and is entitled to no less than a reasonable royalty
16     for LG’s use of the claimed inventions of the ’117 Patent, together with interest and
17     costs as determined by the Court. Polaris PowerLED will continue to suffer
18     damages in the future unless LG’s infringing activities are enjoined by this Court.
19         80.      Polaris PowerLED will be irreparably harmed unless a permanent
20     injunction is issued enjoining LG and their agents, employees, representatives,
21     affiliates, and others acting in concert with LG from infringing the ’117 Patent.
22                                  PRAYER FOR RELIEF
23         WHEREFORE, Polaris PowerLED requests the following relief from this
24         Court:
25               (A)      A judgment that Defendants have infringed one or more claims
26         of the ’087 patent literally and/or under the doctrine of equivalents directly
27         and/or indirectly by inducing infringement;
28               (B)      A judgment that Defendants have infringed one or more claims
                                                - 25 -
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 1         of the ’117 patent literally and/or under the doctrine of equivalents directly
 2         and/or indirectly by inducing infringement;
 3               (C)         Compensatory damages in an amount according to proof, and in
 4         any event no less than a reasonable royalty, including all pre-judgment and
 5         post-judgment interest at the maximum rate allowed by law;
 6               (D)         Treble damages for willful infringement pursuant to 35 U.S.C.
 7         § 284;
 8               (E)         An order and judgment permanently enjoining LG and its
 9         officers, directors, agents, servants, employees, affiliates, attorneys, and all
10         others acting in privity or in concert with them, and their parents, subsidiaries,
11         divisions, successors and assigns from further acts of infringement of the
12         Patents-in-Suit;
13               (F)         A judgment that this is an exceptional case and awarding Polaris
14         PowerLED its costs and reasonable attorneys’ fees incurred in this action as
15         provided by 35 U.S.C. § 285; and
16               (G)         A judgment granting Polaris PowerLED such further relief as
17         the Court may deem just and proper.
18                                    JURY TRIAL DEMAND
19         81.         Polaris PowerLED hereby demands trial by jury on all issues so triable
20     pursuant to Fed. R. Civ. P. 38.
21
        DATED: January 21, 2020
22
23
                                           By: /s/ Robert F. Kramer
24                                            Robert F. Kramer
25                                         Attorneys for Plaintiff
                                           POLARIS POWERLED TECHNOLOGIES,
26                                         LLC
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